Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 1 of 15 Page ID #:365



                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

  Case No. SA CV 17-2223-DOC (KESx)                                  Date: June 27, 2018


  Title: MISS GLOBAL ORGANIZATION LLC ET AL V. MAK ET AL


  PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

              Deborah Lewman                                  Not Present
              Courtroom Clerk                                Court Reporter

        ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
              PLAINTIFF:                                 DEFENDANT:
             None Present                                 None Present



        PROCEEDINGS (IN CHAMBERS): ORDER GRANTING PLAINTIFF’S
                                   MOTION TO DISMISS
                                   COUNTERCLAIMS [36]

         Before the Court is Plaintiff and Counterdefendant Van Pham’s (“Pham”) Motion
  to Dismiss Counterclaims (“Motion”) (Dkt. 36). The Court finds this matter appropriate
  for resolution without oral argument. See Fed. R. Civ. P. 78; L.R. 7-15. Having reviewed
  the papers and considered the parties’ arguments, the Court GRANTS Pham’s Motion.

  I.    Background

        A.     Facts

         This case arises from a dispute over Miss Global Organization (“MGO”), which is
  the organizer of Miss Global, an annual beauty pageant. See Complaint (Dkt. 1) ¶ 13.
  Pham and MGO bring suit against Defendants Sokhuntea Mak (“Mak”) and Scott Ware
  (“Ware”) (collectively “Defendants”). See Compl. at 1. Counterclaimant Mak and MGO
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 2 of 15 Page ID #:366
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES – GENERAL

      Case No. SA CV 17-2223-DOC (KESx)                                                      Date: June 27, 2018
                                                                                                          Page 2


  (collectively, “Counterclaimants”) bring counterclaims against Pham. See Counterclaim
  (“CC”) (Dkt. 23).1 The Court adopts the facts set out in the Counterclaim.

         Pham and Mak are the co-founders of MGO. CC ¶ 14. Mak has had a long-
  standing career in the entertainment industry as a consultant, red carpet host, model, and
  actress. Id. ¶ 9. Mak alleges that around April 2011, Pham requested to meet with Mak
  and asked about Mak’s connections in the entertainment industry. Id. ¶ 10. Mak further
  alleges that Pham and Mak began discussing business ideas in the entertainment field, so
  that Pham could capitalize on Mak’s established connections in the entertainment
  industry. Id. In September 2011, Mak suggested that they create a company that arranges
  and conducts beauty pageants. Id. Pham and Mak allegedly entered into an oral
  agreement (“2011 Verbal Agreement”) to be co-founders and share an equal 50-50
  ownership interest. Id. ¶¶ 10, 28. Pham and Mak agreed that Mak would provide the
  vision for MGO, as well as establish and oversee the company’s operations and
  procedures. Id. Pham would handle MGO’s financial operations. Id. ¶ 28.
  Counterclaimants allege that Mak came up with the company name of Miss Global
  Organization. Id. Pham was instructed to purchase the domain name on MGO’s behalf,
  along with five other domain names related to MGO. Id. ¶ 13.

         Counterclaimants allege that since the company’s inception, Mak has expended
  significant time and recourses developing MGO. Id.¶ 17. Mak formulated all of the ideas
  behind the development of MGO including, but not limited to, the company name, the
  company trademark, the rules and regulations, business model, judging criteria, logo
  designs, slogans, and company mission. Id.

          On March 10, 2012, Pham registered MGO with the California Secretary of State
  as a limited liability company. Id. ¶ 17. Pham assured Mak that her name was on MGO’s
  business registration filing as an owner of the company. Id. ¶ 18. However,
  Counterclaimants allege that this was not true, and that it was not until September 2017
  that Mak discovered that Pham had failed to list her as an owner of MGO in the
  company’s business registration filing. Id. On July 2012, Pham opened a Bank of
  America business account for MGO without adding Mak to the account, despite the fact
  that Pham and Mak had agreed that they would both be signers on the account for MGO.
  Id. ¶ 19. Pham assured Mak that he would add her to the account, but Pham failed to add
  Mak as a signer on MGO’s bank account. Id.



  1
      Presumably because both Pham and Mak claim ownership of MGO, they both name it as a co-party.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 3 of 15 Page ID #:367
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                        Date: June 27, 2018
                                                                                         Page 3


         On October 2, 2012, Pham registered MGO’s trademark, Registration No.
  4,219,443 under his personal name. Id. ¶ 20. Mak alleges that this was despite the fact
  that Mak and Pham had specifically agreed that MGO’s trademark would be registered
  under the company’s name. Id. Pham assured Mak that the trademark was registered
  under the company’s name. Id. Moreover, Mak alleges that it was not until September
  2017 that Mak discovered that Pham had registered MGO’s trademark under his personal
  name rather than under the company name. Id. Moreover, the trademark is allegedly
  “completely based on Mak’s design.” Id.

         Counterclaimants allege that throughout the years, MGO continued to grow and
  prosper because of Mak’s efforts. Id. ¶ 23. Counterclaimants further allege that Pham
  significantly mismanaged MGO’s business operations. Id. Over time, Pham’s relationship
  with MGO staff and contestants became increasingly strained because of his hostile
  attitude and lack of leadership. Id. Subsequently, Mak began to take more control of
  MGO’s operations. Id. ¶ 24.

         B.     Procedural History

        On February 16, 2018, Mak filed an Amended Answer, and Mak and MGO filed
  the Counterclaim, bringing fourteen counterclaims against Pham:

         (1)    breach of oral contract;
         (2)    promissory estoppel;
         (3)    fraud (deceit per California Civil Code §1710, actual fraud per California
                Civil Code §1572, and constructive fraud per California Civil Code
                § 1573);
         (4)    breach of implied contract;
         (5)    breach of confidence;
         (6)    intentional interference with prospective economic relations;
         (7)    defamation;
         (8)    conversion;
         (9)    Federal unfair competition, in violation of 15 U.S.C. § 1125;
         (10)   unfair business practices, in violation of California’s Unfair Competition
                Law (“UCL”), California Business & Professional Code §17200;
         (11)   breach of fiduciary duty;
         (12)   accounting;
         (13)   declaratory relief; and
         (14)   copyright infringement.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 4 of 15 Page ID #:368
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                           Date: June 27, 2018
                                                                                            Page 4


  CC ¶¶ 27–130.

         On May 18, 2018, Pham filed the instant Motion, seeking to dismiss all of the
  counterclaims on that basis that each counterclaim fails to state a claim upon which relief
  can be granted and/or is time barred by the statute of limitations. See generally Mot.
  Pham also filed a Request for Judicial Notice (“RJN”) (Dkt. 37). On May 29, 2018,
  Defendants filed their Opposition (“Opp’n”) (Dkt. 41). On June 4, 2018, Pham replied
  (“Reply”) (Dkt. 43).

  II.    Request for Judicial Notice

           Pham requests that the Court take judicial notice of five documents. See RJN at 2.
  Pursuant to Federal Rule of Evidence 201, “[a] court shall take judicial notice if
  requested by a party and supplied with the necessary information.” Fed. R. Evid. 201(d).
  An adjudicative fact may be judicially noticed if it is “not subject to reasonable dispute in
  that it is either (1) generally known within the territorial jurisdiction of the trial court or
  (2) capable of accurate and ready determination by resort to sources whose accuracy
  cannot reasonably be questioned.” Fed. R. Evid. 201(b). Thus, a court “may take judicial
  notice of matters of public record, including duly recorded documents, and court records
  available to the public through the Pacer system via the internet.” C.B. v. Sonora Sch.
  Dist., 691 F. Supp. 2d 1123, 1138 (E.D. Cal. 2009); see also Holder v. Holder, 305 F.3d
  854, 866 (9th Cir. 2002). The Court may also take judicial notice of documents available
  on a government agency’s website. Gustavson v. Wrigley Sales Co., 961 F. Supp. 2d
  1100, 1113 n.1 (N.D. Cal. 2013). “[D]ocuments on which allegations in the complaint
  necessarily rely, even if not expressly referenced in the complaint” are subject to judicial
  notice, “provided that the authenticity of those documents is not in dispute.” Stewart v.
  Screen Gems-EMI Music, Inc., 81 F. Supp. 3d 938, 951 (N.D. Cal. 2015) (emphasis in
  original).

         Pham requests that the Court take judicial notice of the following five documents,
  filed with the Court as Exhibits 1 through 5 to Pham’s Request for Judicial Notice:

         1. The Unites States Patent and Trademark Office, Certificate of Trademark
            Registration for the mark “MISS GLOBAL” in the name of Van Pham;
            Registration No. 4,140,556 (Registration Date: May 8, 2012);
         2. A screenshot of the Unites States Patent and Trademark Office Website for the
            Miss Global mark;
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 5 of 15 Page ID #:369
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES – GENERAL

      Case No. SA CV 17-2223-DOC (KESx)                                                         Date: June 27, 2018
                                                                                                             Page 5


            3. The Unites States Patent and Trademark Office, Certificate of Trademark
               Registration for the mark “G MISS GLOBAL” in the name of Van Pham;
               Registration No. 4,219,443 (Registration Date: October 2, 2012);
            4. A screenshot of the Unites States Patent and Trademark Office Website for the
               G Miss Global mark; and
            5. The Statement of Information for Miss Global Organization, LLC filed with
               the California Secretary of State on May 10, 2012, identifying Van M. Pham as
               the sole manager.

            See RJN at 2.

          Exhibits 1 through 4 of RJN are available on the United States Patent and
  Trademark Office Website, and no party objects to their authenticity. See RJN Ex. 1
  (“United States Patent and Trademark Office Certificate of Trademark Registration for
  the mark of “Miss Global” in the name of Van Pham”) and Ex. 2 (“Unites States Patent
  and Trademark Office Website of the Miss Global mark.”). Exhibit 5 to RJN describes a
  Statement of Information for the Miss Global Organization, and is available on the
  California Secretary of State Website. See RJN Ex. 5 (“Statement of Information for Miss
  Global Organization, LLC filed with the California Secretary of State.”). Neither party
  objects to the authenticity of those documents, as these documents can be found on
  official government websites.2 Thus, the documents are the proper subject of judicial
  notice. See Fed. R. Evid. 201; see also Jeffrey M. Goldberg & Assocs., Ltd. v. Holstein,
  299 B.R. 211 (Bankr. N.D. Ill. Sept. 24, 2003) (finding that a federal court can take
  judicial notice of information on official government websites).

         Accordingly, the Court takes judicial notice of Exhibits 1 through 5 to Pham’s
  request for Judicial Notice.

  III.      Legal Standard

         Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be dismissed
  when a plaintiff’s allegations fail to set forth a set of facts that, if true, would entitle the
  complainant to relief. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Ashcroft v.
  Iqbal, 556 U.S. 662, 679 (2009) (holding that a claim must be facially plausible in order

  2
    Counterclaimants dispute the truth of some of the information contained in Exhibits 1 through 5 to Pham’s
  RJN, specifically the fact of whose name the trademarks should be really registered to and the conclusions that may
  be drawn from them. See generally Opp’n. However, Pham does not request that the Court take judicial notice of the
  truth of the facts asserted in those exhibits, and the Court does not do so.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 6 of 15 Page ID #:370
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                          Date: June 27, 2018
                                                                                           Page 6


  to survive a motion to dismiss). The pleadings must raise the right to relief beyond the
  speculative level; a plaintiff must provide “more than labels and conclusions, and a
  formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S.
  at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). On a motion to dismiss, a
  court accepts as true a plaintiff’s well-pleaded factual allegations and construes all factual
  inferences in the light most favorable to the plaintiff. See Manzarek v. St. Paul Fire &
  Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). A court is not required to accept as
  true legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678.

         In evaluating a Rule 12(b)(6) motion, review is ordinarily limited to the contents
  of the complaint and material properly submitted with the complaint. Van Buskirk v.
  Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002); Hal Roach Studios, Inc. v.
  Richard Feiner & Co., Inc., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990). Under the
  incorporation by reference doctrine, the court may also consider documents “whose
  contents are alleged in a complaint and whose authenticity no party questions, but which
  are not physically attached to the pleading.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.
  1994), overruled on other grounds by 307 F.3d 1119, 1121 (9th Cir. 2002); see also
  United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

         In addition, Federal Rule of Civil Procedure 9(b) states that an allegation of “fraud
  or mistake must state with particularity the circumstances constituting fraud.” Fed. R.
  Civ. P. 9(b). The “circumstances” required by Rule 9(b) are the “who, what, when,
  where, and how” of the fraudulent activity. Vess v. Ciba-Geigy Corp. USA, 317 F.3d
  1097, 1106 (9th Cir. 2003). In addition, the allegation “must set forth what is false or
  misleading about a statement, and why it is false.” Vess, 317 F.3d at 1106 (quoting In re
  GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir.1994)). However, “intent,
  knowledge, and other conditions of a person’s mind may be alleged generally.” Fed. R.
  Civ. P. 9(b); see also Neubronner v. Milken, 6 F.3d 666, 672 (explaining that Rule 9(b)’s
  heightened pleading standard may be relaxed when the allegations of fraud relate to
  matters particularly within the opposing party’s knowledge, such that a plaintiff cannot
  be expected to have personal knowledge).

  IV.    Discussion

         Pham moves to dismiss all fourteen of the counterclaims on that basis that each
  counterclaim fails to state a claim upon which relief can be granted and/or is time barred
  by the statute of limitations. See Mot. at 1. Thirteen of the counterclaims center upon
  three alleged breaches of a purported oral ownership agreement from 2011 (“2011 Verbal
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 7 of 15 Page ID #:371
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                          Date: June 27, 2018
                                                                                           Page 7


  Agreement”). Id. The fourteenth counterclaim deals with alleged copyright infringement.
  Id. The Court will address each counterclaim in turn.

         A.     Breach of Oral Contract

                1.     Statute of Limitations

         In their first counterclaim, Counterclaimants allege that Pham breached the 2011
  Verbal Agreement, entered into by both parties in September 2011, by attempting to
  repudiate the agreement’s existence and wrongfully attempting to exclude Mak as a
  rightful owner of MGO. CC ¶ 30. Specifically, Counterclaimants allege that Pham
  breached the 2011 Verbal Agreement by: (1) on March 10, 2012, failing to list Mak as an
  owner of MGO in the company’s business registration filing; (2) on July 2012, failing to
  add Mak as a signer on MGO’s bank account; (3) on October 2, 2012, registering MGO’s
  trademark under his personal name rather than under the company name. See generally
  CC. Counterclaimants further allege that Mak performed all of her obligations under the
  contract and that Mak breached the implied covenant of good faith and fair dealing by
  unfairly preventing Mak from receiving all of the benefits she would be entitled to
  receive under the contract. CC ¶ 31.

          In the instant Motion, Pham argues that the first counterclaim for breach of oral
  contract should be dismissed because it is time barred by the applicable statute of
  limitations. Opp’n at 1. Specifically, Pham argues that the relevant statute of limitations
  for this claim is two years. Id. Pham argues that the statute of limitation began to run
  more than five years ago with the discovery of the three alleged breaches of the 2011
  Verbal Agreement in 2012. Id. However, Counterclaimants filed their counterclaim on
  February 16, 2018, more than five years later. Id. at 6.

          In their Opposition, Counterclaimants argue that the statute of limitations has not
  run on their counterclaim because they have satisfied the delayed discovery exception to
  the statute of limitations. Opp’n at 7. Counterclaimants argue that the delayed discovery
  exception tolls the statute of limitations to September 2017, when Mak discovered or
  should have discovered Pham’s wrongful acts. Id. at 11. Therefore, since
  Counterclaimants filed their breach of contract counterclaim on February 16, 2018,
  Counterclaimants argue that the counterclaim is not time barred by the statute of
  limitations. Id.

                       a.      Delayed Discovery Rule
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 8 of 15 Page ID #:372
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                            Date: June 27, 2018
                                                                                             Page 8


          “In order to rely on the discovery rule for delayed accrual of a cause of action, ‘[a]
  plaintiff whose complaint shows on its face that his claim would be barred without the
  benefit of the discovery rule must specifically plead facts to show (1) the time and
  manner of discovery and (2) the inability to have made earlier discovery despite
  reasonable diligence.” Rosal, 671 F. Supp. 2d at 1131 (quoting Fox, 35 Cal. 4th at 668);
  see also Taguinod v. World Sav. Bank, FSB, 755 F. Supp. 2d 1064, 1071 (C.D. Cal.
  2010). When the court assesses the sufficiency of the plaintiff’s allegations of delayed
  discovery, the “plaintiff bears the burden to show diligence; conclusory allegations will
  not withstand a motion to dismiss.” Rosal, 671 F. Supp. 2d at 1131. “The question when
  accrual occurred under the delayed discovery rule is generally ‘a question of fact unless
  the evidence can support only one reasonable conclusion.” Frere v. Medtronic, Inc., Case
  No. EDCV 15-02338-BRO (DTBx), 2016 WL 1533524, at *11 (C.D. Cal. April 6, 2016)
  (citing Ovando v. County of Los Angeles, 159 Cal. App. 4th 42, 61 (2008) (citations
  omitted)).

          If the delayed discovery rule applies, the statute of limitations is tolled until “the
  plaintiff discovers, or has reason to discover, the cause of action.” Fox, 35 Cal. 4th at
  807, 2 (citations omitted). Plaintiffs have reason to discover a cause of action when they
  have “reason at least to suspect a factual basis for its elements.” Norgart v. Upjohn, 21
  Cal. 4th 383, 393 (1999) (citation omitted).

          “The discovery rule only delays accrual until the plaintiff has, or should have,
  inquiry notice of the cause of action.” Fox v. Ethicon Endo–Surgery, Inc., 35 Cal. 4th
  797, 807 (2005); see Rosal, 671 F. Supp. 2d at 1131 (“Plaintiffs are charged with
  presumptive knowledge of an injury if they have information of circumstances to put
  [them] on inquiry or if they have the opportunity to obtain knowledge from sources open
  to [their] investigation.”) (citing Fox, 35 Cal. 4th at 807–08) (citation and internal
  quotation marks omitted).

         Here, the only allegations in the Counterclaim related to discovery are that: (1) “It
  was not until September 2017 that Mak discovered that Pham had failed to list her as an
  owner of MGO in the company’s business registration filing”; and (2) “It was not until
  September 2017 that Mak discovered that Pham had registered MGO’s trademark under
  his personal name rather than under the company name.” See CC ¶¶ 18, 20.

         Therefore, Counterclaimants make conclusory threadbare statements and fails to
  adequately plead facts sufficient to show both the time and manner of her discovery of
  these facts and circumstances. See Rosal, 671 F. Supp. 2d at 1131.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 9 of 15 Page ID #:373
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                          Date: June 27, 2018
                                                                                           Page 9


         Regarding the first prong of the discovery rule, Counterclaimants do not
  specifically plead the time and manner of discovery. Rather, Mak broadly argues that she
  was not on notice of any facts or information that would have required her to inquire into
  whether Pham had fulfilled his contractual duties until 2017. See generally CC. These
  allegations are insufficient to satisfy the discovery rule, seeing as they leave the Court
  guessing as to the time when Counterclaimants learned of the alleged violation and how,
  and let alone a plausible explanation as to why Mak did not discover the information
  sooner. See Herremans v. BMW of N. Am., LLC, No. CV 14-02363 MMM (PJWx), 2014
  WL 5017843, at *5 (C.D. Cal. Oct. 3, 2014) (“Her complaint, however contains no
  specific allegations concerning how or when she first discovered the defect.”). Therefore,
  Mak fails to satisfy the first prong of the discovery rule.

          Moreover, Maks’ allegations concerning reasonable diligence are factually
  insufficient. Again, Mak simply asserts that she “was not on notice of any facts or
  information that would have required her to inquire into whether Pham had fulfilled his
  contractual duties until 2017.” Opp’n at 10. Mak does not allege the specific efforts she
  made to investigate the cause of her injury during the statute of limitations period, much
  less that she conducted “a reasonable investigation of all potential causes of [her] injury.”
  See Fox, 35 Cal. 4th at 808 (emphasis added).

        Instead Mak alleges she did not discover the cause of her injuries earlier, in part,
  because: “Pham assured Mak that her name was on MGO’s business registration filing as
  an owner of the company and Pham assured Mak that the trademark was registered under
  the company’s name. CC ¶¶ 18, 20. In short, Mak’s conclusory allegation regarding
  reasonable diligence is insufficient.

          Moreover, under these circumstances, Mak argues that she was not on notice of
  any facts or information that would have given her a reason to check the public records to
  see if Pham had done specifically what he had assured her he would do. Opp’n at 10.
  However, Maks allegations are contradicted, however, by multiple later allegations.
  Specifically, Mak alleges the following:

                Pham significantly mismanaged the business operations of MGO.
                Pham had engaged in numerous acts of inappropriate and wrongful
                conduct to the detriment of MGO and Mak such as mismanaging
                MGO’s finances and exploiting and disparaging MGO contestants.
                Subsequently, Mak began to take more control of MGO’s
                operations.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 10 of 15 Page ID #:374
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                         Date: June 27, 2018
                                                                                         Page 10




  CC ¶ 24. A claim for relief is facially plausible when the plaintiff pleads enough facts,
  taken as true, to allow a court to draw a reasonable inference that the defendant is liable
  for the alleged conduct. Ashcroft v. Iqbal, 556 U.S. 662. If the facts only allow a court to
  draw a reasonable inference that the defendant is possibly liable, then the complaint must
  be dismissed. Id. at 679 (stating that determining whether a complaint states a plausible
  claim for relief will be a context-specific task requiring the court to draw on its judicial
  experience and common sense.). Here, common sense dictates that Mak should have had
  actual or presumptive knowledge of facts sufficient to put her on inquiry, and Mak fails
  to allege facts to the contrary. Mak claims that she was instrumental to MGO from its
  inception in 2011 and to MGO’s accompanying success. CC ¶¶ 21–23. Yet, despite
  Pham’s mismanagement of MGO’s finances, MGO allegedly continued to grow and
  prosper because of Mak’s efforts. CC ¶¶ 21–25. Specifically, Mak fails to state facts to
  allege that despite her proactive involvement on a consistent basis of MGO, Mak had no
  access or control over MGO’s business operations—enough to not provide her with an
  adequate notice of the alleged breaches, some of which were publicly discoverable in
  publicly-filed documents on government websites. Furthermore, Mak fails to address
  why despite her active and instrumental involvement, she never received any
  compensation from her equal ownership of MGO for over seven years since the
  company’s inception in 2011. See generally CC. Ultimately, Mak fails to plead sufficient
  facts to demonstrate that she had no means from which to discover Pham’s three breaches
  of the 2011 Verbal Agreement.

          Moreover, given Mak’s threadbare allegations and the judicially noticed materials,
  Mak cannot avail herself of the delayed discovery rule. As the California Supreme Court
  explained, “plaintiffs are charged with presumptive knowledge of an injury if they have
  information of circumstances to put [them] on inquiry or if they have the opportunity to
  obtain knowledge from sources open to [their] investigation.” Fox, 35 Cal. 4th at 808
  (citation and internal quotation marks omitted). Here, the Mak had ample opportunity to
  obtain knowledge regarding the alleged cause of her injury. Specifically, the United
  States Patent and Trademark Office Website Certificate of Trademark Registration for
  the mark of “Miss Global” in the name of Van Pham and a copy of a Statement of
  Information for Miss Global Organization filed with the Secretary of State identifying
  Pham as the sole manager. See RJN (Ex. 1 and Ex. 5). Thus, Mak fails to plead additional
  facts suggesting she was reasonably diligent in investigating the cause of her injury.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 11 of 15 Page ID #:375
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                           Date: June 27, 2018
                                                                                           Page 11


                       b.      Fraudulent Concealment

          Counterclaimants also argue that this claim is not time barred by the statute of
  limitation because the doctrine of fraudulent concealment postpones the accrual of their
  claims. Opp’n at 8. For the doctrine of fraudulent concealment to apply, it must be plead
  with particularity under Federal Rule of Civil Procedure 9(b). Yumul v. Smart Balance,
  Inc., 733 F.Supp.2d 1117, 1131 (C.D. Cal. 2010). To establish fraudulent concealment,
  Counterclaimants must show: “(1) when he fraud was discovered; (2) the circumstances
  under which it was discovered; (3) that the plaintiff was not at fault for failing to discover
  it or had no actual or presumptive knowledge of facts sufficient to put him on inquiry.”
  See id.; see also Vess v. Ciba-Geigy Corp. USA, 317 F. 3d 1097, 1106 (9th Cir. 2003)
  (stating that averments of fraud must be accompanied by “the who, what, when, where,
  and how” of the misconduct charged).

         In their Opposition, Counterclaimants allege that Pham hindered Mak’s discovery
  of his wrongful actions through misrepresentations such as fraudulently misrepresenting
  to Mak that Mak’s name was on MGO’s business registration filing as an owner of the
  company and that the trademark was registered under the company’s name. Opp’n at 8.
  Pham argues that Counterclaimants fail to satisfy the elements necessary for pleading a
  theory of fraudulent concealment because Counterclaimants fail to plead the
  circumstances under which the purported fraud was discovered and that that the plaintiff
  was not at fault for failing to discover it. Reply at 4.

          Counterclaimants assert it “was not until September 2017 that Mak discovered that
  Pham had failed to list her an owner of MGO in the company’s business registration
  filing.” CC ¶ ¶ 18, 20. Counterclaimants further assert that Mak was not on any notice of
  any facts or information that would have given her a reason to check the public records to
  see if Pham had done specifically what he had assured her he would do. Opp’n at 11.

         Plaintiffs’ conclusory statement that it “was not until September 2017 that Mak
  discovered that Pham had failed to list her an owner of MGO in the company’s business
  registration filing” falls short of meeting the heightened pleading requirement. See
  Yumul, 733 F.Supp.2d 1117; see also Fed. R. Civ. P. 9(b). Plaintiffs do not plead facts
  demonstrating a plausible theory of fraudulent concealment such as the time and manner
  under which the purported fraud was discovered, and any facts. Furthermore,
  Counterclaimants do not adequately plead sufficient facts to allow the Court to determine
  why Mak was unable to discover the existence of her causes of actions, or to explain why
  Mak did not undertake such an investigation, considering there were documents in the
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 12 of 15 Page ID #:376
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES – GENERAL

      Case No. SA CV 17-2223-DOC (KESx)                                                          Date: June 27, 2018
                                                                                                             Page 12


  public record. See RJN Exs. 1, 2. Accordingly, Counterclaimants have not plausibly
  alleged the doctrine of fraudulent concealment.

                             c.       Continuing Breaches

         Moreover, Counterclaimants argue that this claim is not time barred by the statute
  of limitations because it is subject to the continuing violations doctrine. Opp’n at 11.
  Specifically, Counterclaimants argues that they allege that “Counter-Defendant breached
  the Contract by attempting to repudiate its existence and wrongfully attempting to
  exclude Mak as a rightful owner of MGO.” Id. (quoting CC ¶ 30). Next,
  Counterclaimants argue that “[t]hese wrongful actions occurred as early as 2017 when
  Pham shut Mak out of MGO and claimed she was not an owner” but this argument does
  not appear in the Counterclaim. See id; see generally CC. Counterclaimants also cite
  Wyatt v. Union Mortg. Co., 24 Cal. 3d 773, 786 (1979), which held that “when a civil
  conspiracy is properly alleged and proved, the statute of limitations does not begin to run
  on any part of a plaintiff’s claims until the ‘last overt act’ pursuant to the conspiracy has
  been completed.” Opp’n at 11 (citing Wyatt, 24 Cal. 3d 773, 786). However,
  Counterclaimants fail to provide a clear or plausible argument as to why or how the
  doctrine of continuing violations applies here, based on specific allegations in the
  Counterclaim, such that the claims are not time barred by the statute of limitations. See
  Traverso v. Dept. of Transp., 87 Cal. App. 4th 1142, 1151 (2001) (“Plaintiffs cannot
  evade the bar of the statute by skipping lightly over the first breach of duty and claiming
  to found their action on some subsequent conduct in line with it. If this could be done . . .
  the operation of the statute of limitations could be entirely defeated.”).

         Because Counterclaimants’ delayed discovery, fraudulent concealment, and
  continuing breaches theories to overcome the statute of limitations are not plausible, it
  would be futile to grant leave to amend.

        Accordingly, the Court DISMISSES WITH PREJUDICE Counterclaimants’ first
  counterclaim for breach of oral contract.3




  3
    Pham also argues that Counterclaimants’ breach of contract counterclaim should be dismissed for failure to state a
  claim, but because Counterclaimants have not plausibly alleged that this counterclaim is within the statute of
  limitations, the Court need not reach that argument. See Mot. at 9–10.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 13 of 15 Page ID #:377
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                                              Date: June 27, 2018
                                                                                                              Page 13


           B.       Counterclaims Two through Thirteen

         Pham further claims that Counterclaimants second through thirteen Counterclaims
  are time barred because the statute of limitations for these counterclaims began to run in
  2012, when Mak knew or should have known of Pham’s behavior more than five years
  ago. Mot. at 1. Counterclaimants argue that their second through thirteen counterclaims
  are not time barred because the delayed discovery rule is applicable to each of their
  counterclaims. See generally CC.

                    1. Statute of Limitations

         The parties due not dispute that absent the application of the delayed discovery
  rule (or some other exception), the statute of limitations also bars Counterclaimants’
  second through thirteenth claims, which are based on events allege to have occurred in
  2012.4 See Opp’n at 6; see also Reply at 1. Counterclaimants’ second through thirteenth
  claims are: (2) promissory estoppel; (3) Fraud; (4) Breach of Implied Contract; (5)
  Breach of Confidence; (6) Intentional Interference with Prospective Economic Relations;
  (7) Defamation; (8) Conversion; (9) Violation of 15 U.S.C. § 1125; (10) Violation of Cal.
  Bus. & Prof. Code § 17200; (11) Breach of Fiduciary Duty; (12) Accounting; (13)
  Declaratory Relief. See generally Mot.; CC.

         For the same reasons discussed above, Counterclaimants failed to plausibly invoke
  the delayed discovery rule related to the alleged breaches of the 2011 Verbal Agreement,
  the doctrine of fraudulent concealment, or the continuing breaches doctrine.

        Accordingly, the Court DISMISSES WITH PREJUDICE Counterclaimants’
  counterclaims two through thirteen.5

           C.       Copyright Infringement

          In addition, as to Counterclaimants’ fourteenth counterclaim for copyright
  infringement, Pham argues that Counterclaimants have not alleged that the “Miss Global”
  logo was registered under her name with the Copyright Office, and thus have failed to
  state a claim. Mot. at 24. Pham further argues that Mak does not sufficiently allege actual
  4
    First, on March 10, 2012, failing to list Mak as an owner of MGO in the company’s business registration filing;
  second, on July 2012, failing to add Mak as a signer on MGO’s bank account; third, on October 2, 2012, registering
  MGO’s trademark under his personal name rather than under the company name. See generally CC.
  5
    Pham also argues that various of these counterclaims should be dismissed for failure to state a claim, but because
  Counterclaimants have not plausibly alleged that these counterclaims are within the statute of limitations, the Court
  need not reach those arguments. See Mot. at 10–23.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 14 of 15 Page ID #:378
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                           Date: June 27, 2018
                                                                                           Page 14


  copying, and thus fails to allege that there exists a substantial similarity between the
  subject works. Id.

         In their Opposition, Counterclaimants argue that the “MGO logo is an original
  design created solely by Mak and that Mak is the exclusive owner of the rights, title, and
  interest in and to the copyright of the Logo.” Opp’n at 20; see also CC ¶ 127. Thus,
  Counterclaimants argue, Pham infringed Mak’s copyright by knowingly and willfully
  using the MGO logo design without the consent or authorization of Mak. CC ¶ 129.
  Moreover, Counterclaimants state that if the Court finds Counterclaimants copyright
  infringement claim defective, Counterclaimants respectfully request leave to amend.
  Opp’n at 20.

          To establish a claim for copyright infringement, a plaintiff must prove two
  elements: (1) ownership of a valid copyright, and (2) copying of constituent elements of
  the work that are original. L.A. Printex Industries, Inc. v. Aeropastale, Inc., 676 F.3d 841,
  846 (9th Cir. 2012), as amended on denial of reh’g and reh’g on banc, (June 13, 2012).
  In addition, a plaintiff can show defendant’s infringement was “willful” by establishing
  that the defendant acted with “knowledge that its conduct constitutes an act of
  infringement.” Oracle Am., Inc. v. Google Inc., 131 F. Supp. 3d 946, 949 (N.D. Cal.
  2015).

          As to the first element, ownership, Counterclaimants broadly allege that the MGO
  logo is Mak’s original design, created solely by her and that contains material wholly
  original to her. CC ¶ 127. However, Counterclaimants do not allege that Mak has
  submitted a copyright application to the Copyright Office, or that a copyright for the
  MGO logo was actually registered. Thus, Counterclaimants have not sufficiently pleaded
  facts sufficient to demonstrate that Mak has “ownership of the alleged infringed
  material.” See L.A. Printex Industries, 676 F.3d at 846. As to the second element,
  Counterclaimants fail to allege any facts regarding substantial similarity. Since Mak
  admittedly fails to allege that Mak registered any work with the Copyright Office, and
  fails to allege facts supporting substantial similarity, the copyright infringement
  counterclaim must be dismissed.

         Accordingly, the Court DISMISSES WITHOUT PREJUDICE Counterclaimants’
  fourteenth counterclaim for copyright infringement.
Case 8:17-cv-02223-DOC-KES Document 49 Filed 06/27/18 Page 15 of 15 Page ID #:379
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 17-2223-DOC (KESx)                                         Date: June 27, 2018
                                                                                         Page 15


  V.     Disposition

        For the reasons set forth above, the Court GRANTS Pham’s Motion to Dismiss
  Counterclaims. The Court DISMISSES WITH PREJUDICE Counterclaimants’ first
  through thirteenth counterclaims. The Court DISMISSES WITHOUT PREJUDICE
  Counterclaimants’ fourteenth counterclaim for copyright infringement.

         Counterclaimants may file an amended Counterclaim, if desired, bringing solely
  one counterclaim for copyright infringement—based on the fourteenth counterclaim for
  copyright infringement in the instant Counterclaim, and clearly alleging ownership of a
  valid copyright and substantial similarity—on or before July 10, 2018. No other
  counterclaims may be brought without prior leave of the Court or the stipulation of the
  opposing party. See Fed. R. Civ. P. 15(a)(2).

         The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11                                                   Initials of Deputy Clerk: djl
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